     Case: 1:20-cv-02651 Document #: 11 Filed: 05/06/20 Page 1 of 1 PageID #:58

                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.2
                                Eastern Division

Getten Credit Company
                                 Plaintiff,
v.                                                   Case No.: 1:20−cv−02651
                                                     Honorable Ronald A. Guzman
Fair Isaac Corporation
                                 Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, May 6, 2020:


       MINUTE entry before the Honorable Ronald A. Guzman: Attorney Daniel E.
Hedlund's motion for leave to appear pro hac vice [8] on behalf of the plaintiff is granted.
Mailed notice (is, )




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